                  Case 19-51050-JKS              Doc 72         Filed 03/01/22      Page 1 of 2




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                                     Chapter 11

WOODBRIDGE GROUP OF COMPANIES, LLC, et                                     Case No. 17-12560 (JKS)
al.,1
                                                                           (Jointly Administered)
                           Remaining Debtors.

MICHAEL GOLDBERG, in his capacity as Liquidating
Trustee of WOODBRIDGE LIQUIDATION
TRUST,
                                         Plaintiff,

                        vs.                                                Adversary Proceeding
                                                                           Case No. 19-51050 (JKS)
ASCENSUS, LLC d/b/a PROVIDENT TRUST
GROUP, ADMINISTRATOR AND CUSTODIAN FOR                                     Ref Docket. No. 71
THE BENEFIT OF CHRISTOPHER M. SOULIER
ROTH IRA; CHRISTOPHER M. SOULIER,
                                   Defendants.


                                         AFFIDAVIT OF SERVICE

STATE OF NEWYORK   )
                   ) ss.:
COUNTY OF NEW YORK )

SHARNA WILSON, being duly sworn, deposes and says:

1. I am employed as a Case Manager by Epiq Class Action and Claims Solutions, Inc., located
   at 777 Third Avenue, New York, New York 10017. I am over the age of eighteen years and
   am not a party to the above-captioned action.

2. On February 24, 2022, I caused to be served the “Certification of Counsel Regarding Entry
   of Judgment” dated February 24, 2022, [Docket No. 71], by causing a true and correct copy
   to be delivered via first class mail to the following party: Christopher M. Soulier 602 William
   Way Waunakee, WI 53597 and via email to c.soulier@accessunlimitedllc.com.

1        The Remaining Debtors and the last four digits of their respective federal tax identification number are as
         follows: Woodbridge Group of Companies, LLC (3603) and Woodbridge Mortgage Investment Fund 1,
         LLC (0172). The Remaining Debtors’ mailing address is 14140 Ventura Boulevard #302, Sherman Oaks,
         California 91423.




                                                          -1-
               Case 19-51050-JKS        Doc 72        Filed 03/01/22     Page 2 of 2




3.   The envelopes utilized in the service of the foregoing contained the following legend:
     LEGAL DOCUMENTS ENCLOSED. PLEASE DIRECT TO THE ATTENTION OF
     ADDRESSEE, PRESIDENT OR LEGAL DEPARTMENT.”

                                                                       /s/ Sharna Wilson
                                                                       Sharna Wilson

 Sworn to before me this
 25th day of February, 2022
 /s/ Panagiota Manatakis
 Notary Public, State of New York
 No. 01MA6221096
 Qualified in Queens County
 Commission Expires April 26, 2022




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